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AO 245D (Rev 12/10) Judgment in a Criminal Case for Revocations Sheet 1

                                            UNITED STATES DISTRICT COURT
                                                                District of New Mexico

                   UNITED STATES OF AMERICA                                 Judgment in a Criminal Case
                              V.                                            (For Revocation of Probation or Supervised Release)

                          Simon Ronquillo
                                                                            Case Number: 1:08CR02936-006JB
                                                                            USM Number: 48192-051
                                                                            Defense Attorney: James Baiamonte, Appointed
THE DEFENDANT:

c    admitted guilt to violations of condition(s) MC, Special of the term of supervision.
d    was found in violation of condition(s) after denial of guilt.

The defendant is adjudicated guilty of these violations:

Violation           Nature of Violation                                                                  Violation
Number                                                                                                   Ended
MC                  The defendant failed to refrain from any unlawful use of a controlled                06/05/2013
                    substance.

The defendant is sentenced as provided in pages 1 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

d    The defendant has not violated condition(s)           and is discharged as to such violation(s).

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

8579                                                                        September 9, 2013
Last Four Digits of Defendant's Soc. Sec. No.                                Date of Imposition of Judgment

1977                                                                         /s/ James O. Browning
Defendant's Year of Birth                                                    Signature of Judge


                                                                             Honorable James O. Browning
Albuquerque, NM                                                              United States District Judge
City and State of Defendant's Residence                                      Name and Title of Judge



                                                                             September 12, 2013
                                                                             Date Signed
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AO 245D (Rev. 12/10) Sheet 1 Judgment in a Criminal Case for Revocations Sheet                                         Judgment Page 2 of 5
1A


Defendant: Simon Ronquillo
Case Number: 1:08CR02936-006JB


                                                        ADDITIONAL VIOLATIONS

Violation           Nature of Violation                                                            Violation
Number                                                                                             Ended
Special             The defendant failed to participate in and successfully complete an outpatient 06/19/2013
                    substance abuse treatment program, approved by the probation officer, which
                    may include testing.
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Sheet 2 Imprisonment                                                                                                   Judgment Page 3 of 5


Defendant: Simon Ronquillo
Case Number: 1:08CR02936-006JB


                                                                   IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 1 day.

For reasons stated on the record at the sentencing hearing held September 9, 2013, the Court varies.

d      The court makes these recommendations to the Bureau of Prisons:




d      The defendant is remanded to the custody of the United States Marshal.
d      The defendant shall surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Services Office.


                                                                     RETURN

I have executed this judgment as follows:




Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a certified copy of this judgment.




                                                                        UNITED STATES MARSHAL



                                                                        By
                                                                        DEPUTY UNITED STATES MARSHAL
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Sheet 3 Supervised Release                                                                                                              Judgment Page 4 of 5
Defendant: Simon Ronquillo
Case Number: 1:08CR02936-006JB
                                                           SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 45 months .



The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance.
The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined
by the court.

d      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance abuse.
       (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable).
d      The defendant shall cooperate in the collection of DNA as directed by statute. (Check, if applicable).
d      The defendant shall register with the state, local, tribal and/or other appropriate sex offender registration agency in the state where the defendant
       resides, works, or is a student, as directed by the probation officer. (Check, if applicable.)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or a restitution, it is to be a condition of supervised release that the defendant pay in accordance with Criminal Monetary
Penalties sheet of this judgment.
The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.

                                                   STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
       reasons;
6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court; and
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Sheet 3C Supervised Release


Defendant: Simon Ronquillo
Case Number: 1:08CR02936-006JB


                                            SPECIAL CONDITIONS OF SUPERVISION

The defendant must participate in and successfully complete location monitoring for a period of six (6)
months in the location monitoring program with the Radio Frequency (RF) technology under the home
detention component. The defendant may be required to pay a portion or all costs of such program.

The defendant must participate in and successfully complete an outpatient substance abuse treatment
program, approved by the probation officer, which may include testing. The defendant is prohibited from
obstructing or attempting to obstruct or tamper, in any fashion, with the collection, efficiency and accuracy
of any substance abuse testing device or procedure. The defendant may be required to pay a portion of the
cost of treatment and/or drug testing to be determined by the Probation Office.

The defendant must submit to a search of his person, property, or automobile under his control to be
conducted in a reasonable manner and at a reasonable time, for the purpose of detecting controlled substances
or any other violations of conditions of supervision at the direction of the probation officer. He must inform
any residents that the premises may be subject to a search.

The defendant must refrain from the use and possession of alcohol and other forms of intoxicants.

The defendant will be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without prior approval of the probation officer.

The defendant must provide the probation officer access to any requested financial information, personal
income tax returns, authorization for release of credit information, and other business financial information
in which the defendant has a control or interest.

The defendant shall have no contact with the co-defendants in this case.
